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                   EXHIBIT A
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UNITED STATES OF AMERICA V. JAMES
VELISSARIS

DECEMBER 2022


Faten Sabry, Ph.D.




SECURITIES AND FINANCE
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Assignment


 1. Assess IQ’s alterations and valuations
 2. Estimate but-for valuations
 3. Identify impossible IQ valuations
 4. Quantify impact on investors and fees




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Scope of Analysis


 • Selected 62 positions to identify IQ’s alterations
   and evaluate the impact of the alterations on the
   IQ valuations

 • Analyzed 733 valuations based on Bloomberg’s
   recorded data for IQ’s valuations




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Derivative Instruments in the IQ Funds


               IQ Mutual Fund                                                                         IQ Hedge Fund


                            $69 MM                                                               $30 MM
                              14%                                                                  26%



                                                                                                                      $48 MM
                                    $117 MM                                                                             41%
$320 MM                               23%
  63%
                                                                                              $39 MM
                                                                                                33%
                                              Variance Swaps
                                              Corridor Variance Swaps
                                              Other Derviatives

Sources: GX-2026, GX-7006          DRAFT - Privileged and Confidential -- Preliminary and Unchecked                       4
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1 Assess IQ’s Alterations and Valuations
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93% of the 733 IQ Monthly Valuations
Had Alterations
                       60
                            IQ Valuations with Alterations
                            IQ Valuations without Alterations
                       50
Number of Valuations




                       40


                       30


                       20


                       10


                       0




Sources: GX-1204-1275, GX-8000-8068      DRAFT - Privileged and Confidential -- Preliminary and Unchecked   6
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IQ Altered Different Valuation Parameters


           Type of Alterations                                                          Number of Valuations


           • Strike Price                                                                                  470 (64%)
           • Vega Notional                                                                                 146 (20%)
           • Effective Date                                                                                181 (25%)
           • Maturity Date                                                                                 102 (14%)
           • Corridors                                                                                     316 (43%)
           • Annualization Factor                                                                            39 (5%)


           Valuations With Multiple Alterations                                                            463 (63%)


Sources: GX-1204-1275, GX-8000-8068     DRAFT - Privileged and Confidential -- Preliminary and Unchecked               7
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IQ’s Alterations Led to Contradictory
Valuations of Identical Positions
              $25 MM
                            IQ removed contractual bounds for                                      IQ Mutual Fund (XDADACKX)
                            all monthly hedge fund valuations
                                                                                                   IQ Hedge Fund (IS8379143)

              $20 MM
                                                                                                   IQ also altered the notional
                                                                                                   from May to August in the
                                                                                                   hedge fund valuations and
              $15 MM                                                                               from August to November in
 Valuations




                                                                                                   the mutual fund valuations.


              $10 MM



              $5 MM
                                                                       IQ altered contractual bounds for
                                                                       all monthly mutual fund valuations
              $0 MM
                        Feb-20 Mar-20 Apr-20 May-20 Jun-20                        Jul-20       Aug-20 Sep-20        Oct-20 Nov-20
Sources: GX-5000-5129               DRAFT - Privileged and Confidential -- Preliminary and Unchecked                              8
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 IQ’s Alterations Led to Contradictory
 Valuations of Identical Positions
                 $5 MM
                                                                                                         IQ Mutual Fund (XDAC8QB4)
                                                                                                         IQ Hedge Fund (XDAC98HE)
                 $0 MM
                                                         IQ altered notional for at least
                                                         March 2020 to August 2020
                -$5 MM                                   hedge fund valuations
   Valuations




                -$10 MM


                -$15 MM                                  IQ altered notional for at least
                                                         March 2020 to August 2020
                                                         mutual fund valuations
                -$20 MM


                -$25 MM
                          Jan-20     Feb-20          Mar-20          Apr-20          May-20              Jun-20   Jul-20   Aug-20
Sources: GX-5000-5129                 DRAFT - Privileged and Confidential -- Preliminary and Unchecked                               9
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2 Estimate But-For Valuations
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 Over $200 Million In Inflated IQ
 Valuations for 62 Positions
                      $500 MM
                                       IQ Valuation

                      $400 MM          NERA Valuation
   Total Valuations




                      $300 MM


                      $200 MM
                                                  Total inflation in IQ April 2020
                      $100 MM
                                                  valuations is $384 MM


                        $0 MM


                      -$100 MM



Sources: GX-5000-5129                    DRAFT - Privileged and Confidential -- Preliminary and Unchecked   11
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 IQ Inflated the Valuations for Identical
 Positions
              $25 MM
                                                                                                         IQ Mutual Fund (XDADACKX)

                                                                                                         IQ Hedge Fund (IS8379143)
              $20 MM                                                                                     NERA
 Valuations




              $15 MM



              $10 MM



              $5 MM



              $0 MM
                        Feb-20 Mar-20 Apr-20 May-20 Jun-20                              Jul-20       Aug-20 Sep-20     Oct-20 Nov-20
Sources: GX-5000-5129, GX-9000-9506       DRAFT - Privileged and Confidential -- Preliminary and Unchecked                           12
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 IQ Inflated the Valuations for Identical
 Positions
               $5 MM
                                                                                                        IQ Mutual Fund (XDAC8QB4)
                                                                                                        IQ Hedge Fund (XDAC98HE)
               $0 MM
                                                                                                        NERA

              -$5 MM
 Valuations




              -$10 MM


              -$15 MM


              -$20 MM


              -$25 MM
                           Jan-20        Feb-20         Mar-20           Apr-20          May-20              Jun-20   Jul-20   Aug-20
Sources: GX-5000-5129, GX-9000-9506       DRAFT - Privileged and Confidential -- Preliminary and Unchecked                              13
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 IQ Inflated the Valuations for Identical
 Positions
              $35 MM
                                                                                                         IQ Mutual Fund (XDAC9Y5A)

              $30 MM                                                                                     IQ Hedge Fund (IS8379140)

                                                                                                         NERA
              $25 MM
 Valuations




              $20 MM


              $15 MM


              $10 MM


              $5 MM


              $0 MM
                       Feb-20 Mar-20 Apr-20 May-20 Jun-20                               Jul-20      Aug-20 Sep-20      Oct-20 Nov-20
Sources: GX-5000-5129, GX-9000-9506       DRAFT - Privileged and Confidential -- Preliminary and Unchecked                           14
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  IQ’s Variance Expectations Differed
  Between Its Long and Short Positions
                       2,000
                                                            1,637                                           1,504   1,513

                       1,000
   Expected Variance




                           0

                                                                                                         NERA Valuations
                       -1,000


                       -2,000
                                                                                              IQ Short Position (XDAC8ZIA)

                       -3,000                                                                 IQ Long Position (IS8434001)
                                        -3,002

                       -4,000
                                         IQ Valuations

Sources: GX301, GX-1301-1402, GX-5066-5101,
GX-5112-5129, GX-8065, GX-8068, GX-9000-9506 DRAFT - Privileged and Confidential -- Preliminary and Unchecked                15
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 IQ’s Valuations Are Inflated By $2.9 Million
 On Average Relative to Close-Out Prices



             Comparison of Close-Out Prices to IQ and NERA Valuations *


                                                                                       Average           Median
                                                                                     Difference       Difference
             IQ Valuations in Prior Month                                               $2.9 MM        $2.6 MM
             NERA Valuations in Prior Month                                           -$0.1 MM        -$0.1 MM



             * For 31 closed positions as of January 2021




Sources: GX-5000-5129              DRAFT - Privileged and Confidential -- Preliminary and Unchecked                16
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3 Identify Impossible IQ Valuations
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 IQ Valued a Variance Swap Above the
 Maximum Possible Value
        $10 MM
                                  IQ Valuation as of Jan 2020 is $7.3 MM (XDACQ6H3)


            $5 MM
   Payoff




            $0 MM

                     Maximum Possible
                     Gain is $5.2 MM.
            -$5 MM

                                          All Mathematically Possible Values
       -$10 MM

                                                           Realized Volatility
Sources: GX-8032                 DRAFT - Privileged and Confidential -- Preliminary and Unchecked   18
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IQ’s Valuations Exceed the Maximum
Possible Gain In Multiple Months
         $10 MM
                                                                                     IQ’s Impossible Valuations
                                                                                      IQ’s Impossible Valuations

             $5 MM
Valuations




             $0 MM




             -$5 MM               IQ Mutual Fund
                                  (XDACQ6H3)
                                  IQ Hedge Fund
                                  (XDAC2G26)                                  All Mathematically Possible Values
      -$10 MM
                      Sep-19      Nov-19       Jan-20          Mar-20         May-20           Jul-20        Sep-20   Nov-20   Jan-21
Sources: GX-5000-5129, GX-8021,
GX-8032, GX-8033
                                          DRAFT - Privileged and Confidential -- Preliminary and Unchecked                         19
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Total Impact of IQ’s Impossible Valuations



                                                                                                            October 2019 to
 Months With Impossible Valuations (12)
                                                                                                            September 2020
 Count of Positions With Impossible Valuations                                                                            7
 Number of Impossible Monthly Valuations                                                                                30

 Sum of Infinity Q Valuations                                                                                     -$94 MM
 Sum of NERA Valuations                                                                                          -$306 MM
 Total Inflation in Infinity Q Valuations                                                                         $212 MM




 Sources: GX-300, GX-301, GX-1301-1402, GX-5000-5129, GX-8000-8068

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4 Quantify Impact on Investors and Fees
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But-For NAV Using Counterparty
Valuations
            $1,400 MM
                                       Historical NAV                                           March 2020
            $1,200 MM                  Counterparty Based NAV

            $1,000 MM
Valuation




             $800 MM

             $600 MM

             $400 MM

             $200 MM

               $0 MM



Sources: GX-5000-5065, GX-5102-5111,
GX-7200-7279, GX-9000-9506                DRAFT - Privileged and Confidential -- Preliminary and Unchecked   22
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Excess Investor Fees for the Hedge Fund
Using Counterparty Valuations
                             $35 MM
                                                                    Total Excess Fees and
                             $30 MM                                Allocation = $28.3 MM
Excess Fees and Allocation




                             $25 MM


                             $20 MM
                                                                     Excess Performance
                                                                    Allocation = $20.0 MM
                             $15 MM


                             $10 MM


                             $5 MM                                     Excess Management
                                                                        Fees = $8.4 MM
                             $0 MM
Sources: GX-5000-5065, GX-5102-5111,
GX-7200-7279, GX-9000-9506                    DRAFT - Privileged and Confidential -- Preliminary and Unchecked   23
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Excess Investor Fees for 27 Hedge
Fund Positions
                             $12 MM
                                                                     Total Excess Fees and
                                                                     Allocation = $9.9 MM
                             $10 MM
Excess Fees and Allocation




                             $8 MM


                             $6 MM                                    Excess Performance
                                                                     Allocation = $8.5 MM
                             $4 MM


                             $2 MM
                                                                       Excess Management
                             $0 MM
                                                                        Fees = $1.4 MM
Sources: GX-5000-5065, GX-5102-5111,
GX-7200-7279, GX-9000-9506                    DRAFT - Privileged and Confidential -- Preliminary and Unchecked   24
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